 

 

J v ` ‘_ ` U.s.DlsTRlcT coURT
‘ .f) NORTHERN DISTRICT oF TEXAS
j:oy’~OOOZA,-O Document 40 Filed 05/19/14 Page 1 of 2 PU§BQZ?

 

 

MAY | 9 20|4
IN THE UNITED STATES COURT F AF PEALS

FOR THE FIFTH CIRC IT CLERK,U.S.DIST ICT Qpp§zppeals

Unite States u
By ~ -

 

 

 

 

D‘”’“*y F!I_ED
Apri| 23, 2014

No. 14-10252 Ly|e W. Cayce
C|erk

KYEV POMPA TATUM, SR.; TONYA ROCHELLE TATUM;
ARCHIE IKEY TATUl\/[; HERSHEY ANN TATUM,

Plaintiffs-Appellants,
V.

TARRANT REGIONAL WATER DISTRICT; VICTOR W. HENDERSON;
JACK STEVENS; MARTY LEONARD; JIM LANE; MARY KELLEHER,

Defendants-Appellees.

 

Appeal from the United States District Court
for the Northern District of Texas
USDC No. 4:14-CV-24 "*"C)

 

Before HIGGINBOTHAM, DAVIS, and HAYNES, Circuit Judges.
PER CURIAM:*

The plaintiffs, Kyev Pompa Tatum, Sr., Tonya Rochelle Tatum, Archie
Ikey Tatum, and Hershey Ann Tatum, appeal from the district court’s denial
of their motion for preliminary injunction and dismissal of their action With
prejudice They sought to require the defendant-appellant, the Tarrant
Regional Water District, to hold an election in l\/lay of 2014 for two of its

director positions Whose four-year terms are set to expire then. We agree With

 

* Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
be published and is not precedent except under the limited circumstances set forth in 5TH
CIR. R. 47.5.4.

 

 

Case 4:14-cv-OOO24-O Document 40 Filed 05/19/14 Page 2 of 2 Page|D 928
No. 14-10252
the district court that no election is authorized under TeXas law until l\/.[ay of
2015, and the United States Constitution does not require an election'this year.
We therefore affirm on that basis.

We take no position on the question of What Will happen When the two
directors’ four-year elected terms end in l\/lay of 2014. That question is not
yet ripe. When their terms end, Texas state law Will control the question of
how the director positions Will be filled and any related issues.

For the reasons set forth above, We AFFIRM.

